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12 CALIFORNIA COASTKEEPER ALLIANCE

13

14                           UNITED STATES DISTRICT COURT
15                          EASTERN DISTRICT OF CALIFORNIA
16

17 CALIFORNIA COASTKEEPER ALLIANCE,               Case No. 2:20-cv-01703-SCR
18
                     Plaintiff,                   DECLARATION OF ERICA A. MAHARG
19 vs.                                            IN SUPPORT OF PLAINTIFF'S MOTION
                                                  FOR INTERIM AWARD OF FEES AND
20 COSUMNES CORPORATION dba                       COSTS
   MURIETA EQUESTRIAN CENTER, a
21
   California Corporation; CAROL                  Hearing Date: June 12, 2025
22 ANDERSON WARD, an individual;                  Time: 10:00 AM
   CAROL ANDERSON WARD, as trustee                Courtroom: 27, 8th Floor
23 of the Carol Anderson Ward Trust dated         Hon. Sean Riordan
   February 6, 2002,
24
                             Defendants.
25

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                                             1
      DECLARATION OF ERICA MAHARG ISO PLAINTIFF'S MOTION FOR INTERIM AWARD OF FEES AND
                                           COSTS
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 1          I, Erica Maharg, declare:

 2          1.     I am more than eighteen years old and am competent to testify as to the matters set

 3 forth herein.

 4          2.     I am an attorney licensed to practice law in the State of California. I am a partner

 5 with Aqua Terra Aeris (“ATA”) Law Group, representing California Coastkeeper Alliance

 6 (“Plaintiff”) in the above referenced action.

 7          3.     I make this Declaration in support of Plaintiff’s Motion for Attorneys’ Fees and

 8 Costs, filed herewith. The facts set forth in this declaration are based on my personal knowledge,

 9 unless otherwise stated; if called to testify as a witness, I could and would competently testify

10 thereto under oath.

11      I. BIOGRAPHICAL INFORMATION

12          4.     In 2009, I graduated summa cum laude from Lewis and Clark Law School in
13 Portland, Oregon, with a certificate in Environmental and Natural Resources Law.

14          5.     Prior to being admitted to the Bar, I worked as a law clerk at the Pacific
15 Environmental Advocacy Center (now Earthrise Law Center) and Earthjustice’s Seattle,

16 Washington office. In both positions, I worked on issues involving enforcement of federal

17 environmental laws.

18          6.     I was admitted to the Oregon Bar in Fall 2009 and the California Bar in December
19 2011.

20          7.     Since then, I have practiced both California and federal environmental law,
21 representing environmental non-profits and government agencies.

22          8.     From Fall 2009 to Fall 2011, I worked for the U.S. Environmental Protection
23 Agency’s Region IX office in San Francisco, California. In this role, I prosecuted administrative

24 cases under the Clean Water Act (“CWA”); Clean Air Act; Resource Conservation and Recovery

25 Act; and Comprehensive Environmental Response, Compensation, and Liability Act.

26          9.     From September 2011 to August 2014, I worked at Shute, Mihaly, & Weinberger, a
27 public interest environmental and land use law firm based in San Francisco, California. While there,

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       DECLARATION OF ERICA MAHARG ISO PLAINTIFF'S MOTION FOR INTERIM AWARD OF FEES AND
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 1 I worked on behalf of environmental non-profits, government agencies, and municipalities.

 2          10.    From September 2014 through September 2019, I worked for San Francisco

 3 Baykeeper as a staff attorney and then as managing attorney. As a staff attorney, I was the principal

 4 enforcement attorney for the organization and successfully litigated several CWA enforcement

 5 cases in two years. As a managing attorney, I was responsible for managing an active docket of

 6 CWA cases, as well as several cases in state court.

 7          11.    In October 2019, I joined ATA as a senior associate, and I became a partner in April

 8 2022. In this role, I have been the lead attorney on many environmental cases, successfully

 9 prosecuting violations of the CWA, Clean Air Act, Resource Conservation and Recovery Act,

10 Endangered Species Act, and California Environmental Quality Act.

11          12.    In addition to the current lawsuit, the following is a non-exhaustive list of Clean

12 Water Act enforcement cases in which I have acted as co-counsel:

13          13.    San Francisco Baykeeper v. City of Sunnyvale et al., N.D. Cal. No. 5:20-cv-00824-

14 EJD (alleging violations of the CWA against the City of Sunnyvale and City of Mountain View for

15 discharges exceeding bacteria water quality standards and of non-stormwater; won partial summary

16 judgment and interim fees; trial scheduled March 2025).

17          14.    California Sportfishing Protection Alliance v. Macomber, E.D. Cal. No. 2:20-cv-

18 02482-WBS-AC (asserting violations of the CWA at Mule Creek State Prison, specifically

19 violations of the Small Municipal Separate Storm Sewer System Permit for discharges exceeding

20 bacteria water quality standards and of non-stormwater; entered into consent decree requiring major

21 rehabilitation of stormwater and sewer system).

22          15.    Los Angeles Waterkeeper v. Cavanaugh Machine Works., C.D. Cal. No. 2:24-cv-

23 06501-PD (asserted violations of the CWA at two machining facilities for discharges of polluted

24 industrial stormwater; entered into consent decree requiring compliance with the permit, mitigation

25 payment, and attorneys’ fees and costs).

26          16.    Los Angeles Waterkeeper v. Stabond Corp., C.D. Cal. No. 2:23-cv-08431-FMO-

27 BFM (asserted violations of the CWA for dischargers of polluted industrial stormwater; entered into

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 1 consent decree requiring compliance with the permit, mitigation payment, and attorneys’ fees and

 2 costs).

 3           17.   Orange County Coastkeeper v. Kingspan Light & Air, LLC, C.D. Cal. No. 8:20-cd-

 4 01498-DOC-DFMx (asserted violations of the CWA for dischargers of polluted industrial

 5 stormwater; entered into consent decree requiring compliance with the permit, substantial

 6 investment in stormwater infrastructure, mitigation payment, and attorneys’ fees and costs).

 7           18.   San Francisco Baykeeper v. City of San Jose, N.D. Cal. No. 15-cv-00642-BLF

 8 (asserted violations of the CWA for discharging polluted municipal stormwater; consent decree

 9 entered requiring compliance, substantial investment in stormwater infrastructure, mitigation

10 payment, and attorneys’ fees and costs).

11           19.   San Francisco Baykeeper v. Mission Trail Waste Systems, Inc., N.D. Cal. No. 5:15-

12 cv-3465 (asserted violations of the CWA for discharges of pollution industrial stormwater; entered

13 into consent decree, requiring compliance, mitigation payment, and attorneys’ fees and costs).

14           20.   San Francisco Baykeeper v. Marin Sanitary Systems, N.D. Cal. No. 3:14-CV-5312

15 (asserted violations of the CWA for discharges of pollution industrial stormwater; entered into

16 consent decree, requiring compliance, mitigation payment, and attorneys’ fees and costs).

17           21.   San Francisco Baykeeper v. CSL Operating, LLC, N.D. Cal. No. 5:15-cv-05633-BLF

18 (asserted violations of the CWA for discharges of pollution industrial stormwater; entered into

19 consent decree, requiring compliance, mitigation payment, and attorneys’ fees and costs).

20           22.   San Francisco Baykeeper v. Muoi Phan dba B2 Auto Dismantler, N.D. Cal. No.

21 5:15-cv-00208 (asserted violations of the CWA for discharges of pollution industrial stormwater;

22 entered a consent decree, requiring compliance, mitigation payment, and attorneys’ fees and

23 costs).

24           23.   San Francisco Baykeeper v. Darling Ingredients, Inc. N.D. Cal. No. 4:17-cv-02643-

25 DMR (2017) (asserting violations of the CWA for discharging polluted industrial stormwater and

26 discharging pollutants in violation of pretreatment standards; entered a consent decree).

27           24.   The following is a non-exhaustive list of federal environmental enforcement cases,

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 1 other than under the Clean Water Act, in which I have acted as co-counsel:

 2          25.    Coastal Ranches Conservancy v. Tavares, C.D. Cal. No. 2:24-cv-00468-DSF-RAO

 3 (alleging violations of the federal Endangered Species Act Section 9, 16 U.S.C. § 1538, against

 4 director of California Department of Transportation; upcoming trial).

 5          26.    California Sportfishing Protection Alliance v. Pacific Bell Telephone Co., E.D. Cal.

 6 Case No. 2:21-cv-00073-JDP (alleging violations of the Resource Conservation and Recovery Act

 7 and Proposition 65 for abandoned telecommunications cables that were discharging lead into Lake

 8 Tahoe; successfully negotiated settlement requiring removal of the cables).

 9          27.    San Luis Obispo Coastkeeper et al. v. Santa Maria Valley Water Conservation

10 District et al., C.D. Cal. No. 2:19-cv-08696 AB (JPRx), Ninth Cir. No. 21-55479 (asserting

11 violations of the federal Endangered Species Act Section 9, 16 U.S.C. § 1538, against water district

12 and the U.S. Bureau of Reclamation for operation of a dam; successfully appealed grant of

13 summary judgment to Defendants (49 F.4th 1242 (9th Cir. 2022)); currently stayed after settlement

14 with U.S. Bureau of Reclamation).

15          28.    Association of Irritated Residents v. Vitro Flat Glass, LLC, E.D. Cal. No. 1:19-cv-

16 01512-DAD-BAM (asserting violations of Clean Air Act Title V Permit; successfully negotiated

17 Consent Decree requiring compliance, substantial investment in continuous emissions monitoring

18 systems, mitigation payment, and recovery of attorneys’ fees and costs).

19          29.    Association of Irritated Residents v. Owens Brockway Glass Container, E.D. Cal.

20 No. 1:19-cv-01707-DAD-JLT (asserting violations of Clean Air Act Title V Permit; successfully

21 negotiated Consent Decree requiring compliance, substantial investment in rehabilitating pollution

22 control technology, mitigation payment, and recovery of attorneys’ fees and costs).

23          30.    Association of Irritated Residents et al. v. CertainTeed LLC, E.D. Cal. Case No.

24 1:20-cv-01064-JLT-SKO (asserting violations of Clean Air Act Title V Permit; successfully

25 negotiated Settlement Agreement requiring compliance, substantial investment in replacing

26 pollution control technology, mitigation payment, and recovery of attorneys’ fees and costs).

27          31.    The above list of cases is not comprehensive of all federal environmental cases that I

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 1 have worked on in my career but is provided as an example of my expertise in the field.

 2           32.    My 2025 rate for attorney work in the Eastern District of California is $590 per hour.

 3 Given my experience, skill, and reputation, my rate requested herein is reasonable.

 4           33.    In September 2024, in San Francisco Baykeeper v. City of Sunnyvale, Case No. 5:20-

 5 cv-00824-EJD, District Court Judge Edward Davila of the Northern District of California found that

 6 $795 per hour was a reasonable 2023 rate. Even when compared to the relatively lower rates more

 7 common in the Eastern District of California, these rates reflect the reasonableness of the $590

 8 hourly rate offered herein.

 9            II.   TASKS PERFORMED AND HOURS INCURRED IN CASE

10           34.    I have worked on this case on and off since February 2020 and have helped with

11 many aspects of the litigation. The following is a detailed but non-exhaustive accounting of my

12 participation in this matter. For a complete accounting of the time I spent on this matter, please

13 review my billing entries filed concurrently herewith.

14           35.    In February 2020, I evaluated the strength of the claims in this matter and prepared a

15 memorandum for the Plaintiff regarding that evaluation.

16           36.    In May 2020, I travelled to the Murieta Equestrian Center to observe the site layout,

17 drainage, and receiving waters.

18           37.    Also in May 2020, I helped to draft a notice-of-intent-to-sue letter to Defendant

19 Cosumnes Corporation pursuant to the CWA. 1

20           38.    In August 2020, I reviewed and edited Plaintiff’s Complaint to prepare it for filing.

21           39.    In late 2020 and early 2021, I also helped to prepare California Public Records Act

22 requests we sent to the Rancho Murieta Community Services District (and other entities) and to

23 review documents we received in response. These documents informed our firm’s prosecution of

24

25

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27   1
     “Defendants” herein refers both to Cosumnes Corporation d/b/a Murieta Equestrian Corporation
   individually and collectively with Carol Anderson Ward since most of this litigation occurred prior
28 to Plaintiff having amended its Complaint to include Carol Anderson Ward as a party hereto.
                                                6
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 1 this matter.

 2          40.    I also worked on several discovery-related issues.

 3          41.    In January 2021, I helped to draft requests for production and interrogatories to

 4 Defendants.

 5          42.    In March 2021, I helped to coordinate a site inspection and sampling event under

 6 Federal Rule of Civil Procedure 34 and to finalize Plaintiff’s discovery requests. After that sampling

 7 event occurred, I helped to review and interpret the sampling results obtained therefrom.

 8          43.    In June 2021, I reviewed and revised Plaintiff’s deposition notice to Defendants

 9 pursuant to Federal Rule of Civil Procedure 30(b)(6) and drafted and sent a meet-and-confer letter

10 to Defendants regarding the topics and date of the 30(b)(6) depositions. I prepared for and attended

11 a meet-and-confer with Defendants’ counsel about those issues.

12          44.    In July 2021, I briefly reviewed Defendants’ document production and met with

13 Christopher Hudak to plan our firm’s review of those records.

14          45.    In November 2021, I drafted objections to Defendants’ 30(b)(6) deposition notice.

15          46.    In June 2022, I helped to prepare Plaintiff’s responses to Defendants’ requests for

16 production

17          47.    Moreover, I’ve spent a considerable amount of time on Plaintiff’s standing

18 allegations. In October 2021 and again in January 2022, for example, I researched Plaintiff’s

19 arguments in favor of standing, summarized relevant cases for my co-counsel, and reviewed draft

20 standing declarations. In January 2022, I reviewed and summarized the transcript of Defendants’

21 deposition of Sean Bothwell. In the following months, I also worked with co-counsel to finalize Mr.

22 Bothwell’s standing declaration.

23          48.    In January 2022, I discussed the need to amend Plaintiff’s Complaint to better plead

24 standing with my co-counsel, and then, in February 2022, drafted a motion for leave to amend

25 accordingly. I then modified Plaintiff’s Complaint and prepared and submitted Plaintiff’s Second

26 Amended Complaint (and supporting documents) to more accurately and strategically plead

27 standing. Later in February 2022, I reviewed Defendants’ opposition to our motion for leave to

28
                                              7
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 1 amend the complaint and began drafting our reply. I helped to finalize and submit that reply in early

 2 March of that year.

 3          49.     I also helped to manage the experts Plaintiff employed in furtherance of its

 4 prosecution of this matter. In March 2022, for example, I worked with co-counsel to determine the

 5 scope of work for the experts hired to testify in this matter and later reviewed expert reports.

 6          50.     I also participated in litigating the parties’ cross motions for summary judgment. In

 7 November and December 2022, I helped to prepare Plaintiff’s first Motion for Summary Judgment.

 8 Specifically, I helped with the standing allegations and other jurisdictional issues. In January 2023, I

 9 helped to prepare Plaintiff’s opposition to Defendants’ first Motion in Summary Judgment.

10          51.     Attached hereto as Exhibit 1 is a true and correct copy of my chronological time

11 records that document the time that I spent on this case. I personally and contemporaneously kept

12 these records using computer timekeeping software and amended them for clarity documenting the

13 hours I worked on this case for which I am seeking to recover an attorney’s fee award.

14
            I declare, under penalty of perjury under the laws of the State of California, that the
15
     foregoing is true and correct. Executed on the 24th day of March 2025 in Flagstaff, Arizona.
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                                                                  /s/ Erica A. Maharg
19                                                                Erica A. Maharg
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Date      Client   Matter     Staff          Description                                                             Hours         Rate       Total               Billing Judgment Fee Reduction           Billing Judgment Time Reduction

                   Murieta                   Review memo re: Murieta Equestrian Center; research receiving waters.
                   Equestrian
   2/6/2020 CCKA   Center     Erica Maharg                                                                                   2.5    $590.00           $1,475.00                                    $0.00                                       0

                   Murieta                   Investigate factual and legal claims re: Murieta Equestrian Center.
                   Equestrian
   2/7/2020 CCKA   Center     Erica Maharg                                                                                   2.3    $590.00           $1,357.00                                    $0.00                                       0

                   Murieta                   Draft legal memo to client.
                   Equestrian
  2/10/2020 CCKA   Center     Erica Maharg                                                                                   0.7    $590.00            $413.00                                     $0.00                                       0

                   Murieta                   Review Murieta Equestrian Center memo; discuss Murieta Equestrian
                   Equestrian                Center investigation with E. Lautanen.
  2/11/2020 CCKA   Center     Erica Maharg                                                                                   0.6    $590.00            $354.00                                     $0.00                                       0

                   Murieta                   Research defendant's corporate status.
                   Equestrian
  2/13/2020 CCKA   Center     Erica Maharg                                                                                   0.8    $590.00            $472.00                                     $0.00                                       0

                   Murieta                   Draft legal memo to client re: claims.
                   Equestrian
  2/14/2020 CCKA   Center     Erica Maharg                                                                                   2.9    $590.00           $1,711.00                                    $0.00                                       0

                   Murieta                   Draft memo to client re: claims and evidence.
                   Equestrian
  2/14/2020 CCKA   Center     Erica Maharg                                                                                   1.2    $590.00            $708.00                                     $0.00                                       0

                   Murieta                   Strategize re: legal memo.
                   Equestrian
  2/20/2020 CCKA   Center     Erica Maharg                                                                                   0.1    $590.00             $59.00                                     $0.00                                       0

                   Murieta                   Revise case memo re: site observations.
                   Equestrian
  4/15/2020 CCKA   Center     Erica Maharg                                                                                   1.2    $590.00            $708.00                                     $0.00                                       0

                   Murieta                   Travel to/from Murieta Equestrian Center; observe site.
                   Equestrian
  5/18/2020 CCKA   Center     Erica Maharg                                                                                   2.5    $590.00             $58.00                              $1,417.00                                        2.40

                   Murieta                   Draft notice of intent to sue.
                   Equestrian
  5/26/2020 CCKA   Center     Erica Maharg                                                                                   3.6    $590.00           $2,124.00                                    $0.00                                       0

                   Murieta                   Draft notice of intent to sue.
                   Equestrian
  5/27/2020 CCKA   Center     Erica Maharg                                                                                   1.4    $590.00            $826.00                                     $0.00                                       0

                   Murieta                   Draft notice letter.
                   Equestrian
  5/29/2020 CCKA   Center     Erica Maharg                                                                                   2.3    $590.00           $1,357.00                                    $0.00                                       0

                   Murieta                   Call with J. Flanders re: complaint.
                   Equestrian
  8/25/2020 CCKA   Center     Erica Maharg                                                                                   0.2    $590.00              $0.00                                $118.00                                         0.2

                   Murieta                   Review and finalize complaint.
                   Equestrian
  8/25/2020 CCKA   Center     Erica Maharg                                                                                   3.1    $590.00           $1,829.00                                    $0.00                                       0

                   Murieta                   Research Rancho Murieta Community Services District Clean Water Act
                   Equestrian                permit coverage.
  10/7/2020 CCKA   Center     Erica Maharg                                                                                   0.6    $590.00            $354.00                                     $0.00                                       0




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                   Murieta                   Coordinate with J. Flanders re: call with J. Sullivan and research.
                   Equestrian
  10/7/2020 CCKA   Center     Erica Maharg                                                                                     0.2    $590.00            $118.00                                     $0.00                                     0

                   Murieta                   Call with J. Sullivan re: notice letter.
                   Equestrian
  10/7/2020 CCKA   Center     Erica Maharg                                                                                     0.1    $590.00             $59.00                                     $0.00                                     0

                   Murieta                   Research re: forage crops and permit coverage.
                   Equestrian
  10/8/2020 CCKA   Center     Erica Maharg                                                                                     2.5    $590.00           $1,475.00                                    $0.00                                     0

                   Murieta                   Call with J. Sullivan re: California Coastkeeper Alliance's claims.
                   Equestrian
 10/13/2020 CCKA   Center     Erica Maharg                                                                                     0.5    $590.00            $295.00                                     $0.00                                     0

                   Murieta                   Email J. Flanders re: phone call with J. Sullivan (Murietta Equestrian
                   Equestrian                Center).
 10/13/2020 CCKA   Center     Erica Maharg                                                                                     0.4    $590.00            $236.00                                     $0.00                                     0

                   Murieta                   Coordinate with J. Flanders and C. Hudack re: Public Records Act to
                   Equestrian                Rancho Murieta Community Services District.
 10/13/2020 CCKA   Center     Erica Maharg                                                                                     0.1    $590.00             $59.00                                     $0.00                                     0

                   Murieta                   Call with J. Sullivan (Murieta Equestrian Center) re: permit.
                   Equestrian
 10/13/2020 CCKA   Center     Erica Maharg                                                                                     0.1    $590.00             $59.00                                     $0.00                                     0

                   Murieta                   Review answer and upcoming deadlines.
                   Equestrian
 11/20/2020 CCKA   Center     Erica Maharg                                                                                     0.5    $590.00            $295.00                                     $0.00                                     0

                   Murieta                   Review meet and confer letter re: affirmative defenses; coordinate with
                   Equestrian                co-counsel re: motion to strike.
  12/9/2020 CCKA   Center     Erica Maharg                                                                                     0.5    $590.00            $295.00                                     $0.00                                     0

                   Murieta                   Email with co-counsel re: litigation timing.
                   Equestrian
 12/11/2020 CCKA   Center     Erica Maharg                                                                                     0.1    $590.00             $59.00                                     $0.00                                     0

                   Murieta                   Review Public Records Act response from Rancho Murieta Community
                   Equestrian                Services District.
   1/6/2021 CCKA   Center     Erica Maharg                                                                                     0.3    $590.00            $177.00                                     $0.00                                     0

                   Murieta                   Draft requests for production set one.
                   Equestrian
  1/13/2021 CCKA   Center     Erica Maharg                                                                                     1.3    $590.00            $767.00                                     $0.00                                     0

                   Murieta                   Review Rancho Murieta Community Services District documents.
                   Equestrian
  1/13/2021 CCKA   Center     Erica Maharg                                                                                     0.8    $590.00            $472.00                                     $0.00                                     0

                   Murieta                   Review Rule 34 inspection request.
                   Equestrian
  1/14/2021 CCKA   Center     Erica Maharg                                                                                     0.1    $590.00             $59.00                                     $0.00                                     0

                   Murieta                   Email with co-counsel re: affirmative defenses and discovery.
                   Equestrian
  1/19/2021 CCKA   Center     Erica Maharg                                                                                     0.1    $590.00             $59.00                                     $0.00                                     0

                   Murieta                   Draft interrogatories.
                   Equestrian
  1/21/2021 CCKA   Center     Erica Maharg                                                                                     1.2    $590.00            $708.00                                     $0.00                                     0




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                   Murieta                   Prepare interrogatories and requests for admission.
                   Equestrian
  1/22/2021 CCKA   Center     Erica Maharg                                                                                     1.5    $590.00            $885.00                                     $0.00                                      0

                   Murieta                   Research references to Murieta Equestrian Center events.
                   Equestrian
   2/9/2021 CCKA   Center     Erica Maharg                                                                                     1.1    $590.00            $649.00                                     $0.00                                      0

                   Murieta                   Review initial disclosures.
                   Equestrian
   2/9/2021 CCKA   Center     Erica Maharg                                                                                     0.1    $590.00             $59.00                                     $0.00                                      0

                   Murieta                   Coordinate with E. Bustos and J. Flanders re: initial disclosures.
                   Equestrian
  2/10/2021 CCKA   Center     Erica Maharg                                                                                     0.1    $590.00              $0.00                                 $59.00                                        0.1

                   Murieta                   Call with T. Brett re: Rule 34 inspection and sampling.
                   Equestrian
   3/3/2021 CCKA   Center     Erica Maharg                                                                                     0.5    $590.00            $295.00                                     $0.00                                      0

                   Murieta                   Call with J. Flanders and I. Wren re: Meet and confer with opposing
                   Equestrian                counsel re: inspection demand
   3/4/2021 CCKA   Center     Erica Maharg                                                                                     1.0    $590.00            $590.00                                     $0.00                                      0

                   Murieta                   Revise set one discovery requests.
                   Equestrian
   3/5/2021 CCKA   Center     Erica Maharg                                                                                     1.1    $590.00            $649.00                                     $0.00                                      0

                   Murieta                   Revise and finalize written discovery requests to Defendant.
                   Equestrian
  3/15/2021 CCKA   Center     Erica Maharg                                                                                     1.0    $590.00            $590.00                                     $0.00                                      0

                   Murieta                   Discuss sampling results and litigation strategy with T. Brett.
                   Equestrian
  3/29/2021 CCKA   Center     Erica Maharg                                                                                     0.2    $590.00            $118.00                                     $0.00                                      0

                   Murieta                   Review sample results; coordinate with co-counsel.
                   Equestrian
  3/31/2021 CCKA   Center     Erica Maharg                                                                                     0.2    $590.00            $118.00                                     $0.00                                      0

                   Murieta                   Discuss sample results and litigation strategy with J. Flanders.
                   Equestrian
  3/31/2021 CCKA   Center     Erica Maharg                                                                                     0.1    $590.00             $59.00                                     $0.00                                      0

                   Murieta                   Review court order re: settlement conference; research new opposing
                   Equestrian                counsel.
  4/15/2021 CCKA   Center     Erica Maharg                                                                                     0.1    $590.00             $59.00                                     $0.00                                      0

                   Murieta                   Review and revise draft 30(b)(6) notice.
                   Equestrian
  6/22/2021 CCKA   Center     Erica Maharg                                                                                     1.8    $590.00           $1,062.00                                    $0.00                                      0

                   Murieta                   Draft and send meet and confer re: 30(b)(6) deposition date and topics.
                   Equestrian
  6/23/2021 CCKA   Center     Erica Maharg                                                                                     0.4    $590.00            $236.00                                     $0.00                                      0

                   Murieta                   Confer with J. Flanders re: 30(b)(6) notice.
                   Equestrian
  6/23/2021 CCKA   Center     Erica Maharg                                                                                     0.1    $590.00             $59.00                                     $0.00                                      0

                   Murieta                   Attend meet and confer re: 30(b)(6) deposition.
                   Equestrian
  6/30/2021 CCKA   Center     Erica Maharg                                                                                     0.6    $218.00              $0.00                                $130.80                                        0.6




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                   Murieta                   Attend 30(b)(6) meet and confer.
                   Equestrian
  6/30/2021 CCKA   Center     Erica Maharg                                                                                0.5    $218.00              $0.00                                $109.00                                        0.5

                   Murieta                   Summarize notes and email J. Flander re: 30(b)(6) meet and confer;
                   Equestrian                revise 30(b)(6) topics.
  6/30/2021 CCKA   Center     Erica Maharg                                                                                1.2    $590.00            $708.00                                     $0.00                                      0

                   Murieta                   Prepare for 30(b)(6) meet and confer.
                   Equestrian
  6/30/2021 CCKA   Center     Erica Maharg                                                                                0.1    $590.00             $59.00                                     $0.00                                      0

                   Murieta                   Schedule meet and confer re: 30(b)(6) deposition.
                   Equestrian
  6/30/2021 CCKA   Center     Erica Maharg                                                                                0.1    $590.00             $59.00                                     $0.00                                      0

                   Murieta                   Review scheduling order; calendar deadlines.
                   Equestrian
   7/6/2021 CCKA   Center     Erica Maharg                                                                                0.2    $218.00             $43.60                                     $0.00                                      0

                   Murieta                   Review edits to 30(b)(6) notice.
                   Equestrian
   7/6/2021 CCKA   Center     Erica Maharg                                                                                0.2    $590.00            $118.00                                     $0.00                                      0

                   Murieta                   Revise 30(b)(6) deposition notice.
                   Equestrian
   7/7/2021 CCKA   Center     Erica Maharg                                                                                0.4    $590.00            $236.00                                     $0.00                                      0

                   Murieta                   Plan document review with J. Flanders.
                   Equestrian
  7/19/2021 CCKA   Center     Erica Maharg                                                                                0.1    $590.00             $59.00                                     $0.00                                      0

                   Murieta                   Review Murieta Equestrian Center document production.
                   Equestrian
  7/21/2021 CCKA   Center     Erica Maharg                                                                                0.1    $590.00             $59.00                                     $0.00                                      0

                   Murieta                   Review documents.
                   Equestrian
  7/22/2021 CCKA   Center     Erica Maharg                                                                                0.2    $590.00            $118.00                                     $0.00                                      0

                   Murieta                   Video conference with C. Hudak re: document review.
                   Equestrian
  8/10/2021 CCKA   Center     Erica Maharg                                                                                0.6    $590.00            $354.00                                     $0.00                                      0

                   Murieta                   Research standing.
                   Equestrian
 10/12/2021 CCKA   Center     Erica Maharg                                                                                0.4    $590.00            $236.00                                     $0.00                                      0

                   Murieta                   Call with J. Flanders re: standing research.
                   Equestrian
 10/12/2021 CCKA   Center     Erica Maharg                                                                                0.2    $590.00            $118.00                                     $0.00                                      0

                   Murieta                   Research standing requirements.
                   Equestrian
 10/13/2021 CCKA   Center     Erica Maharg                                                                                3.1    $590.00           $1,829.00                                    $0.00                                      0

                   Murieta                   Research standing requirements; draft written summary of standing
                   Equestrian                cases.
 10/14/2021 CCKA   Center     Erica Maharg                                                                                3.1    $590.00           $1,829.00                                    $0.00                                      0

                   Murieta                   Review K. Kalua standing declaration.
                   Equestrian
 10/25/2021 CCKA   Center     Erica Maharg                                                                                1.6    $590.00            $944.00                                     $0.00                                      0




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                   Murieta                   Review and email J. Flanders re: Notice of California Coastkeeper
                   Equestrian                Alliance deposition.
  11/3/2021 CCKA   Center     Erica Maharg                                                                                       0.1    $590.00             $59.00                                     $0.00                                      0

                   Murieta                   Call with J. Flanders re: 30(b)(6) deposition notice.
                   Equestrian
  11/4/2021 CCKA   Center     Erica Maharg                                                                                       0.4    $590.00            $236.00                                     $0.00                                      0

                   Murieta                   Draft objections to Murieta Equestrian Center 30(b)(6) deposition notice.
                   Equestrian
  11/8/2021 CCKA   Center     Erica Maharg                                                                                       3.4    $590.00           $2,006.00                                    $0.00                                      0

                   Murieta                   Review parties' arguments re: standing; email J. Flanders re: same.
                   Equestrian
   1/5/2022 CCKA   Center     Erica Maharg                                                                                       0.8    $590.00            $472.00                                     $0.00                                      0

                   Murieta                   Call with J. Flanders and D. Hunt re: standing.
                   Equestrian
   1/5/2022 CCKA   Center     Erica Maharg                                                                                       0.8    $590.00            $472.00                                     $0.00                                      0

                   Murieta                   Review Bothwell deposition.
                   Equestrian
  1/12/2022 CCKA   Center     Erica Maharg                                                                                       0.3    $590.00            $177.00                                     $0.00                                      0

                   Murieta                   Review and summarize S. Bothwell Deposition.
                   Equestrian
  1/14/2022 CCKA   Center     Erica Maharg                                                                                       1.9    $590.00           $1,121.00                                    $0.00                                      0

                   Murieta                   Call with J. Flanders re: Bothwell standing.
                   Equestrian
  1/19/2022 CCKA   Center     Erica Maharg                                                                                       0.4    $590.00            $177.00                                 $59.00                                        0.1

                   Murieta                   Review and summarize Bothwell deposition.
                   Equestrian
  1/20/2022 CCKA   Center     Erica Maharg                                                                                       1.5    $590.00            $885.00                                     $0.00                                      0

                   Murieta                   Call with J. Flanders re: standing and amending complaint.
                   Equestrian
  1/20/2022 CCKA   Center     Erica Maharg                                                                                       0.4    $590.00            $236.00                                     $0.00                                      0

                   Murieta                   Call with J. Flanders re: Motion for Summary Judgment stipulation.
                   Equestrian
  1/28/2022 CCKA   Center     Erica Maharg                                                                                       0.8    $590.00            $472.00                                     $0.00                                      0

                   Murieta                   Call and emails with J. Flanders draft motion for leave to amend
                   Equestrian
   2/7/2022 CCKA   Center     Erica Maharg                                                                                       0.3    $590.00            $177.00                                     $0.00                                      0

                   Murieta                   Draft motion for leave to file second amended complaint.
                   Equestrian
   2/7/2022 CCKA   Center     Erica Maharg                                                                                       2.0    $590.00           $1,180.00                                    $0.00                                      0

                   Murieta                   Draft motion for leave to file second amended complaint.
                   Equestrian
   2/8/2022 CCKA   Center     Erica Maharg                                                                                       4.5    $590.00           $2,655.00                                    $0.00                                      0

                   Murieta                   Review edits to Motion for Leave to File Second Amended Complaint;
                   Equestrian                draft Flanders Decl. in support of same.
   2/9/2022 CCKA   Center     Erica Maharg                                                                                       1.1    $590.00            $649.00                                     $0.00                                      0

                   Murieta                   Finalize and file Second Amended Complaint documents.
                   Equestrian
  2/10/2022 CCKA   Center     Erica Maharg                                                                                       1.7    $590.00           $1,003.00                                    $0.00                                      0




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                   Murieta                   Coordinate with Co-counsel, K. Kalua, and T. Trillo re: motion for leave
                   Equestrian                to file Second Amended Complaint.
  2/10/2022 CCKA   Center     Erica Maharg                                                                                      0.7    $590.00            $413.00                                     $0.00                                     0
                                             calls with D. Hunt and J. Flanders re: motion for leave to amend
                   Murieta
                   Equestrian
  2/10/2022 CCKA   Center     Erica Maharg                                                                                      0.4    $590.00            $236.00                                     $0.00                                     0

                   Murieta                   Draft Hunt declaration in support of motion for leave.
                   Equestrian
  2/10/2022 CCKA   Center     Erica Maharg                                                                                      0.4    $590.00            $236.00                                     $0.00                                     0

                   Murieta                   Discuss next steps with J. Flanders.
                   Equestrian
  2/17/2022 CCKA   Center     Erica Maharg                                                                                      0.1    $590.00             $59.00                                     $0.00                                     0

                   Murieta                   Call with J. Flanders re: standing.
                   Equestrian
  2/23/2022 CCKA   Center     Erica Maharg                                                                                      0.3    $590.00            $177.00                                     $0.00                                     0

                   Murieta                   Prepare for call with client re: standing.
                   Equestrian
  2/25/2022 CCKA   Center     Erica Maharg                                                                                      0.2    $590.00            $118.00                                     $0.00                                     0

                   Murieta                   Review opposition to motion to amend; draft outline for reply re: same.
                   Equestrian
  2/28/2022 CCKA   Center     Erica Maharg                                                                                      2.7    $590.00           $1,593.00                                    $0.00                                     0

                   Murieta                   Draft Reply in support of mtn for leave to amend.
                   Equestrian
   3/1/2022 CCKA   Center     Erica Maharg                                                                                      2.6    $590.00           $1,534.00                                    $0.00                                     0

                   Murieta                   Draft reply in support of mtn for leave to file Second Amended
                   Equestrian                Complaint.
   3/2/2022 CCKA   Center     Erica Maharg                                                                                      1.8    $590.00           $1,062.00                                    $0.00                                     0

                   Murieta                   Meeting with J. Flanders and T. Brett re: expert report.
                   Equestrian
   3/2/2022 CCKA   Center     Erica Maharg                                                                                      0.5    $590.00            $295.00                                     $0.00                                     0

                   Murieta                   Review draft expert report and add in items for SOW.
                   Equestrian
   3/3/2022 CCKA   Center     Erica Maharg                                                                                      1.3    $590.00            $767.00                                     $0.00                                     0

                   Murieta                   Review edits to reply in support of mtn for leave to file Second Amended
                   Equestrian                Complaint.
   3/3/2022 CCKA   Center     Erica Maharg                                                                                      0.3    $590.00            $177.00                                     $0.00                                     0

                   Murieta                   Call with J. Flanders re: Reply in support of Mtn for Leave to Amend.
                   Equestrian
   3/4/2022 CCKA   Center     Erica Maharg                                                                                      0.1    $590.00             $59.00                                     $0.00                                     0

                   Murieta                   Review questions for expert; email coco re: same.
                   Equestrian
   3/7/2022 CCKA   Center     Erica Maharg                                                                                      0.2    $590.00            $118.00                                     $0.00                                     0

                   Murieta                   Email with co-counsel re: strategy for standing proof.
                   Equestrian
   3/9/2022 CCKA   Center     Erica Maharg                                                                                      0.3    $590.00            $177.00                                     $0.00                                     0

                   Murieta                   Review court order re: mtn to amend.
                   Equestrian
   3/9/2022 CCKA   Center     Erica Maharg                                                                                      0.1    $590.00             $59.00                                     $0.00                                     0




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                   Murieta                   Email with co-counsel re: scope of I. Wren opinion.
                   Equestrian
  3/18/2022 CCKA   Center     Erica Maharg                                                                                     0.2    $590.00            $118.00                                     $0.00                                     0

                   Murieta                   Draft Bothwell declaration.
                   Equestrian
  3/21/2022 CCKA   Center     Erica Maharg                                                                                     2.9    $590.00           $1,711.00                                    $0.00                                     0

                   Murieta                   Confer with co-counsel re: Bothwell declaration, I Wren deposition, and
                   Equestrian                status.
  3/31/2022 CCKA   Center     Erica Maharg                                                                                     0.1    $590.00             $59.00                                     $0.00                                     0

                   Murieta                   Call with J. Flanders re: sampling and supplementing report.
                   Equestrian
  4/19/2022 CCKA   Center     Erica Maharg                                                                                     0.7    $590.00            $413.00                                     $0.00                                     0

                   Murieta                   Review correspondence with co-counsel and opposing counsel re:
                   Equestrian                sampling and supplementing report.
  4/19/2022 CCKA   Center     Erica Maharg                                                                                     0.2    $590.00            $118.00                                     $0.00                                     0

                   Murieta                   Review emails re: discovery, stipulated facts, and document
                   Equestrian                management.
  4/21/2022 CCKA   Center     Erica Maharg                                                                                     0.2    $590.00            $118.00                                     $0.00                                     0

                   Murieta                   Review sampling results; email J. Flanders re: same.
                   Equestrian
  4/26/2022 CCKA   Center     Erica Maharg                                                                                     0.1    $590.00             $59.00                                     $0.00                                     0

                   Murieta                   Discuss litigation next steps (Bothwell Declaration and supplemental
                   Equestrian                disco) with J. Flanders.
  4/28/2022 CCKA   Center     Erica Maharg                                                                                     0.2    $590.00            $118.00                                     $0.00                                     0

                   Murieta                   Discuss next steps for litigation with co-counsel.
                   Equestrian
  5/12/2022 CCKA   Center     Erica Maharg                                                                                     0.1    $590.00             $59.00                                     $0.00                                     0

                   Murieta                   Schedule check-in meeting re: Bothwell declaration with D. Hunt.
                   Equestrian
  5/12/2022 CCKA   Center     Erica Maharg                                                                                     0.1    $590.00             $59.00                                     $0.00                                     0

                   Murieta                   Call with D. Hunt re: document production and Bothwell declaration.
                   Equestrian
  5/13/2022 CCKA   Center     Erica Maharg                                                                                     1.5    $590.00            $885.00                                     $0.00                                     0

                   Murieta                   Review Bothwell declaration.
                   Equestrian
  5/13/2022 CCKA   Center     Erica Maharg                                                                                     0.2    $590.00            $118.00                                     $0.00                                     0

                   Murieta                   Revise S. Bothwell standing declaration.
                   Equestrian
  5/18/2022 CCKA   Center     Erica Maharg                                                                                     1.6    $590.00            $944.00                                     $0.00                                     0

                   Murieta                   Confer with E. Bustos re: email searching.
                   Equestrian
  5/20/2022 CCKA   Center     Erica Maharg                                                                                     0.1    $590.00             $59.00                                     $0.00                                     0

                   Murieta                   Call with J. Flanders re: expert reports and depositions.
                   Equestrian
  5/24/2022 CCKA   Center     Erica Maharg                                                                                     0.3    $590.00            $177.00                                     $0.00                                     0

                   Murieta                   Email with D. Hunt and C. Hudak re: discovery responses.
                   Equestrian
  5/31/2022 CCKA   Center     Erica Maharg                                                                                     0.2    $590.00            $118.00                                     $0.00                                     0




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                   Murieta                   Review and revise responses to requests for production; confer with co-
                   Equestrian                counsel re: responses and scope of document production and privilege
   6/1/2022 CCKA   Center     Erica Maharg   review.                                                                           3.6    $590.00           $2,124.00                                    $0.00                                      0

                   Murieta                   Call with D. Hunt re: document production.
                   Equestrian
   6/2/2022 CCKA   Center     Erica Maharg                                                                                     1.7    $590.00           $1,003.00                                    $0.00                                      0

                   Murieta                   Upload documents to Everlaw.
                   Equestrian
   6/2/2022 CCKA   Center     Erica Maharg                                                                                     0.6    $590.00            $354.00                                     $0.00                                      0

                   Murieta                   Draft email re: status of document review/production.
                   Equestrian
   6/2/2022 CCKA   Center     Erica Maharg                                                                                     0.4    $590.00            $236.00                                     $0.00                                      0

                   Murieta                   Communicate with co-counsel re: status of document search, review and
                   Equestrian                production.
   6/3/2022 CCKA   Center     Erica Maharg                                                                                     0.2    $590.00            $118.00                                     $0.00                                      0

                   Murieta                   Review documents for responsiveness and privilege.
                   Equestrian
   6/4/2022 CCKA   Center     Erica Maharg                                                                                     2.2    $590.00           $1,298.00                                    $0.00                                      0

                   Murieta                   Review documents for responsiveness and privilege.
                   Equestrian
   6/5/2022 CCKA   Center     Erica Maharg                                                                                     4.4    $590.00           $2,596.00                                    $0.00                                      0

                   Murieta                   Confer with co-counsel re: status of review of Bothwell declaration.
                   Equestrian
  6/28/2022 CCKA   Center     Erica Maharg                                                                                     0.1    $590.00             $59.00                                     $0.00                                      0

                   Murieta                   Call with co-counsel re: planning Motion for Summary Judgment.
                   Equestrian
  7/18/2022 CCKA   Center     Erica Maharg                                                                                     0.9    $590.00            $472.00                                 $59.00                                        0.1

                   Murieta                   Coordinate with E. Bustos re: supplemental production.
                   Equestrian
  7/18/2022 CCKA   Center     Erica Maharg                                                                                     0.1    $590.00             $59.00                                     $0.00                                      0

                   Murieta                   Review email re: upcoming tasks; write J. Flanders re: same.
                   Equestrian
  8/23/2022 CCKA   Center     Erica Maharg                                                                                     0.1    $590.00             $59.00                                     $0.00                                      0

                   Murieta                   Discuss marking documents related to standing with J. Flanders.
                   Equestrian
   9/8/2022 CCKA   Center     Erica Maharg                                                                                     0.5    $590.00            $118.00                                $177.00                                        0.3

                   Murieta                   Review documents related to standing.
                   Equestrian
   9/8/2022 CCKA   Center     Erica Maharg                                                                                     0.2    $590.00            $118.00                                     $0.00                                      0

                   Murieta                   Check in with J. Flanders re: status of standing declaration and Motion
                   Equestrian                for Summary Judgment briefing.
  11/2/2022 CCKA   Center     Erica Maharg                                                                                     0.2    $590.00            $118.00                                     $0.00                                      0

                   Murieta                   Discuss ATA declaration re: market rates.
                   Equestrian
  11/2/2022 CCKA   Center     Erica Maharg                                                                                     0.1    $590.00             $59.00                                     $0.00                                      0

                   Murieta                   Review S. Bothwell declaration and J. Flanders' revisions thereto; send
                   Equestrian                to S. Bothwell for review.
  11/4/2022 CCKA   Center     Erica Maharg                                                                                     0.7    $590.00            $413.00                                     $0.00                                      0




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                   Murieta                   Discuss S. Bothwell declaration with D. Hunt.
                   Equestrian
  11/4/2022 CCKA   Center     Erica Maharg                                                                                      0.2    $590.00            $118.00                                     $0.00                                     0

                   Murieta                   Check in with S. Bothwell re: declaration.
                   Equestrian
  11/7/2022 CCKA   Center     Erica Maharg                                                                                      0.2    $590.00            $118.00                                     $0.00                                     0

                   Murieta                   Review edits to S. Bothwell declaration.
                   Equestrian
 11/16/2022 CCKA   Center     Erica Maharg                                                                                      0.5    $590.00            $295.00                                     $0.00                                     0

                   Murieta                   Review and modify S. Bothwell declaration in support of Motion for
                   Equestrian                Summary Judgment.
 11/17/2022 CCKA   Center     Erica Maharg                                                                                      1.8    $590.00           $1,062.00                                    $0.00                                     0

                   Murieta                   Compare Bothwell declaration to deposition.
                   Equestrian
 11/21/2022 CCKA   Center     Erica Maharg                                                                                      0.6    $590.00            $354.00                                     $0.00                                     0

                   Murieta                   Call with J. Flanders re: waters of the United States argument in Motion
                   Equestrian                for Summary Judgment.
  12/6/2022 CCKA   Center     Erica Maharg                                                                                      0.3    $590.00            $177.00                                     $0.00                                     0

                   Murieta                   Email with D. Hunt re: S. Bothwell Decl.
                   Equestrian
  12/8/2022 CCKA   Center     Erica Maharg                                                                                      0.1    $590.00             $59.00                                     $0.00                                     0

                   Murieta                   Revise S. Bothwell declaration in support of Motion for Summary
                   Equestrian                Judgment.
 12/14/2022 CCKA   Center     Erica Maharg                                                                                      0.4    $590.00            $236.00                                     $0.00                                     0

                   Murieta                   Finalize citations re: standing in Motion for Summary Judgment and
                   Equestrian                SUF.
 12/16/2022 CCKA   Center     Erica Maharg                                                                                      1.5    $590.00            $885.00                                     $0.00                                     0

                   Murieta                   Discuss Oppn to Motion for Summary Judgment with T. Brett.
                   Equestrian
   1/4/2023 CCKA   Center     Erica Maharg                                                                                      0.2    $590.00            $118.00                                     $0.00                                     0

                   Murieta                   Forward T. Brett Bothwell deposition and my summary and thoughts
                   Equestrian                about Oppn.
   1/5/2023 CCKA   Center     Erica Maharg                                                                                      0.2    $590.00            $118.00                                     $0.00                                     0

                   Murieta                   Call with T. Brett re: Motion for Summary Judgment Oppn.
                   Equestrian
   1/6/2023 CCKA   Center     Erica Maharg                                                                                      0.1    $590.00             $59.00                                     $0.00                                     0

                   Murieta                   Call with T. Brett re: plans / next steps for revisions to opp to def's
                   Equestrian                Motion for Summary Judgment
  1/12/2023 CCKA   Center     Erica Maharg                                                                                      0.1    $590.00             $59.00                                     $0.00                                     0

                   Murieta                   Review Dfts' Motion for Summary Judgment and our draft oppn; revise
                   Equestrian                latter.
  1/12/2023 CCKA   Center     Erica Maharg                                                                                      3.1    $590.00           $1,829.00                                    $0.00                                     0

                   Murieta                   Email with co-counsel re: strategy for Phase II Motion for Summary
                   Equestrian                Judgment.
 10/16/2023 CCKA   Center     Erica Maharg                                                                                      0.1    $590.00             $59.00                                     $0.00                                     0

                   Murieta                   Call with J. Flanders re: Phase II Motion for Summary Judgment
                   Equestrian
 10/17/2023 CCKA   Center     Erica Maharg                                                                                      0.2    $590.00            $118.00                                     $0.00                                     0




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                   Murieta                   Call with J. Flanders re: Tim Simpson
                   Equestrian
   1/3/2024 CCKA   Center     Erica Maharg                                                                                     0.2    $590.00           $118.00                                    $0.00                                       0

                   Murieta                   Call T. Brett re: discovery responses
                   Equestrian
  1/23/2024 CCKA   Center     Erica Maharg                                                                                     0.1    $590.00            $59.00                                    $0.00                                       0

                   Murieta                   Call with J. Flanders re: motion for leave to amend complaint strategy.
                   Equestrian
  3/28/2024 CCKA   Center     Erica Maharg                                                                                     0.2    $590.00           $118.00                                    $0.00                                       0

                   Murieta                   Review and revise motion for leave to amend complaint.
                   Equestrian
  3/29/2024 CCKA   Center     Erica Maharg                                                                                     1.3    $590.00           $767.00                                    $0.00                                       0

                   Murieta                   Call with T. Brett re: citations to prior photos in Swickard MIL
                   Equestrian
  4/19/2024 CCKA   Center     Erica Maharg                                                                                     0.1    $590.00            $59.00                                    $0.00                                       0

                   Murieta                   Call with T. Brett re: revisions to Swickard MIL
                   Equestrian
  4/19/2024 CCKA   Center     Erica Maharg                                                                                     0.2    $590.00           $118.00                                    $0.00                                       0
                                             Totals                                                                       125.6                     $71,491.60                              $2,128.80                                        4.30




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